                   Case 2:09-cr-00196-KJM Document 28 Filed 08/12/09 Page 1 of 1




 1

 2

 3                            IN THE UNITED STATES DISTRICT COURT

 4                          FOR THE EASTERN DISTRICT OF CALIFORNIA

 5

 6   UNITED STATES OF AMERICA,                           Cr.S-09-0196 GEB

 7            vs.

 8                                                       ORDER

 9   MICHAEL LEON WILLIAMS,                              Judge: Hon. Gregory G. Hollows

10                                         /

11                    On May 4, 2009, the undersigned advised defendant Michael Leon Williams of

12   the special conditions of release including the requirement of submitting to DNA testing as

13   directed by the United States Attorney’s Office. This condition was stayed pending a ruling on

14   the same issue in the case of United States v. Jerry Albert Pool, 09-015 EJG. On May 27, 2009,

15   the undersigned ordered that DNA sampling was appropriate and that the defendant in Pool

16   submit to DNA testing. That order was appealed to the District Court and on July 16, 2009, the

17   Honorable Edward J. Garcia affirmed the undersigned’s order. That order is currently pending

18   appeal before the Ninth Circuit Court of Appeals.

19                    Accordingly, IT IS HEREBY ORDERED that the stay is lifted and defendant

20   Michael Leon Williams is ordered to submit to DNA testing as directed by the United States

21   Attorney’s Office.

22   DATED: August 11, 2009
                                                          /s/ Gregory G. Hollows
23
                                                         GREGORY G. HOLLOWS
24                                                       UNITED STATES MAGISTRATE JUDGE

25   ggh: ab
     will196.sta
26

                                                     1
